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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

                      Plaintiff,

                      v.                                Case No. 1:19-cv-02184-TJK

FACEBOOK, INC.,
a corporation,

                      Defendant.


   [PROPOSED] ORDER GRANTING DEFENDANT’S MOTION FOR INJUNCTION
                         PENDING APPEAL

       WHEREAS Defendant Meta Platforms, Inc. (“Meta”)—previously, Facebook, Inc.—has

moved, pursuant to Rule 62(d) of the Federal Rules of Civil Procedure, and for the reasons set

forth in the accompanying memorandum of points and authorities, for an injunction pending

appeal of the Court’s November 27, 2023 denial of Meta’s Motion to Enforce the Stipulated

Order and to Enjoin the Administrative Reopening Proceeding of the Federal Trade Commission

(Dkt. No. 38) (the “Motion to Enforce”).

       IT IS THEREFORE ORDERED for the reasons set out in Meta’s motion, and for good

cause found, that Defendant’s motion is hereby GRANTED. The Federal Trade Commission,

including its various agents, employees, and attorneys, is hereby enjoined from continuing the

administrative reopening proceeding initiated on May 3, 2023 by filing in the FTC Docket No.

C-4365 its Order to Show Cause, during the pendency of Meta’s appeal.

       SO ORDERED.



 DATED: _____________, 202__                        _________________________________
                                                    Honorable Timothy J. Kelly
                                                    United States District Judge


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NAMES OF PERSONS TO BE SERVED WITH PROPOSED ORDER PER LCvR 7(k)


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